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                                        Exhibit A to Declaration of Amberly Morgan
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                                        Exhibit A to Declaration of Amberly Morgan
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                                        Exhibit A to Declaration of Amberly Morgan
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                                        Exhibit A to Declaration of Amberly Morgan
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                                        Exhibit A to Declaration of Amberly Morgan
Case 2:21-cv-07912-SVW-AFM Document 1-1 Filed 10/04/21 Page 7 of 33 Page ID #:18




                                        Exhibit A to Declaration of Amberly Morgan
Case 2:21-cv-07912-SVW-AFM Document 1-1 Filed 10/04/21 Page 8 of 33 Page ID #:19




                                        Exhibit A to Declaration of Amberly Morgan
Case 2:21-cv-07912-SVW-AFM Document 1-1 Filed 10/04/21 Page 9 of 33 Page ID #:20




                                        Exhibit A to Declaration of Amberly Morgan
Case 2:21-cv-07912-SVW-AFM Document 1-1 Filed 10/04/21 Page 10 of 33 Page ID #:21




                                         Exhibit A to Declaration of Amberly Morgan
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                                         Exhibit A to Declaration of Amberly Morgan
Case 2:21-cv-07912-SVW-AFM Document 1-1 Filed 10/04/21 Page 12 of 33 Page ID #:23




                                         Exhibit A to Declaration of Amberly Morgan
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                                         Exhibit A to Declaration of Amberly Morgan
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                                         Exhibit A to Declaration of Amberly Morgan
Case 2:21-cv-07912-SVW-AFM Document 1-1 Filed 10/04/21 Page 15 of 33 Page ID #:26




                                         Exhibit A to Declaration of Amberly Morgan
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                                         Exhibit A to Declaration of Amberly Morgan
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                                         Exhibit A to Declaration of Amberly Morgan
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